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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Civil Action No. 09-cv-00752-CMA-CBS
  (Consolidated with 09-cv-01222-CMA-CBS and 09-cv-01356-CMA-CBS)

  WILLIAM AND ELEANOR COHEN,
  ROCHELLE MANDELBAUM, individually and as executrix of
  THE ESTATE OF DONALD MANDELBAUM;
  GIUSEPPE SANTINELLO;
  ANNE J. DEL CASINO, and
  ROBERT AND STEPHANIE HALlO,
  on behalf of themselves and other person similarly situated,

         Plaintiffs,

  v.

  FISERV, INC.,
  FISERV TRUST COMPANY,
  RETIREMENT ACCOUNTS, INC.,
  NTC & CO. LLP,
  TRUST INDUSTRIAL BANK,
  LINCOLN TRUST COMPANY,
  ROBERT BERIAULT,
  ROBERT BERIAULT HOLDINGS, INC.,
  TO AMERITRADE ONLINE HOLDING CORP., and
  TO AMERITRADE HOLDING CORPORATION,'

         Defendants.



       MOTION TO DISMISS OF DEFENDANTS FISERV, INC., ROBERT BERIAULT,
       ROBERT BERIAULT HOLDINGS, INC., TDAMERITRADE ONLINE HOLDINGS
                  CORP. AND TO AMERITRADE HOLDING CORP.
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                                  PRELIMINARY STATEMENT

         Plaintiffs' complaint nameS as Defendants four corporations and an individual

  with no substantive relationship to the underlying allegations in this lawsuit. Because

  the claims against these five Defendants have no legal or factual basis, Defendants (i)

  Fiserv, Inc., (ii) Robert Beriault ("Beriault", (iii) Robert Beriault Holdings, Inc. ("Beriault

  Inc."), (iv) TD Ameritrade Online Holdings Corp., sued herein as TD Ameritrade Online

  Holding Corp. ("TD Ameritrade Online"), and (v) TD Ameritrade Holding Corporation

  ("TD Ameritrade Holding") (the five movants collectively, "Non-Trust Company

  Defendants" or "Movants") hereby move to dismiss with prejudice pursuant to Federal

  Rule of Civil Procedure 12(b)(6) the Consolidated Class Action Complaint

  ("Consolidated Complaint") as against them for failure to state a claim.

         In addition to the arguments set forth in this motion, the Movants and all other

  Defendants in this action are simultaneously filing two other motions to dismiss, one of

  which (the "Omnibus Motion") seeks dismissal of all claims against all Defendants. If

  the Court grants the Omnibus Motion in its entirety, this motion will be moot.

         Plaintiffs assert claims against eleven Defendants for losses arising out of

  investments of self-directed IRA funds that Plaintiffs directed be made with Bernard

  Madoff ("Madoff), the convicted multi-bilion-dollar Ponzi Scheme operator.1 Plaintiffs,

  who directed that funds be transferred to Madoffs control for him to trade securities on

  their behalf, now claim that: (1) Defendants failed to provide them "accurate" reports as

  to the value of their account, i.e., Defendants failed to detect and report that Madoff was


  1 Ten Defendants are identified in the caption of the Consolidated Complaint; those ten plus
  First Trust Corporation are named in the body of the Consolidated Complaint. For present
  purposes, this inconsistency is irrelevant.


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  stealing Plaintiffs' money (Cons. Compl. ,1,121,144,148,164-66,175,186 & 191); and

  (2) Defendants failed to hold and prevent "commingling" of IRA assets, which enabled

  Madoffto perpetrate his fraud (Cons. Com         pi' ,1,110,15-17,20,60,63,82-83,87-88 &

  93-94). All of these claims arise out of purported duties that Plaintiffs allege were owed

  by Defendants pursuant to IRA agreements.

             While six of the Defendants named in the Consolidated Complaint are trust

  company entities ("Trust Companies")2 alleged to have provided services for the IRA

  accounts of class members, the five remaining Defendants, Movants here, are not

  alleged to have had any contractual or other relationship with Plaintiffs at alL. The

  claims against Movants are based solely on their corporate status as alleged parent

  corporations or alleged successors to the Trust Companies, or their alleged role as

  "aiders and abettors" of the Trust Companies.

              In fact, as set forth in the Omnibus Motion, all claims against the Trust

  Companies, and thus all Defendants, fail because they are based on claimed duties that

  do not exist; and, as set forth in the separate motion to dismiss by all Defendants

  pursuant to the Securities Litigation Uniform Standards Act of 1998,15 U.S.C. § 77(p),

  78 (bb)(f) ("SLUSA"), the claims made on behalf of a class are barred by SLUSA.

  Dismissal of claims pursuant to those motions would compel dismissal of the claims



  2 The term "Trust Companies," as used herein, is different from Plaintiffs' term "Trustee
  Defendants," as defined and used in the Consolidated Complaint. By 'Trust Companies,"
  Movants are referring to First Trust Corporation, Fiserv Trust Company, Retirement Accounts,
  Inc., NTC & Co. LLP, Tnust Industrial Bank and Lincoln Trust Company. The term "Trustee
  Defendants," as defined by Plaintifs, includes Fiserv, Inc., Beriault Inc. and Beriault in addition
  to five of the six Trust Companies mentioned above (First Trust Corporation is not included).
  (Cons. CompI.1I51U)). Defendants do not concede that Plaintiffs have accurately identified the
  trust companies which provided services to Plaintiffs' IRA accounts, but will accept Plaintiffs'
  allegations in this regard as true for purposes of this Rule 12 motion.

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  against Movants, since all of the claims against Movants are predicated on the claims

  against the Trust Companies.

        As set forth below, the claims against Movants also must be dismissed because

 the Consolidated Complaint fails to allege facts supporting any liability on their part as

  corporate parents or alleged successors, or for aiding and abetting.

        As to Fiserv, Inc., Plaintiffs do not allege that it is an IRA service provider that

  contracted with them. Rather, they allege only that Fiserv, Inc. is the parent company of

 the Trust Companies. That allegation is insuffcient to state a claim against Fiserv, Inc.

        The claims against the other four Movants arise out of agreements entered into

  in May 2007, by which Fiserv, Inc. agreed to sell its investment support services ("ISS")

  business in two separate transactions -- one with TD Ameritrade Online, and one with

  Beriault Inc. Based on the facts pleaded, these agreements and transactions created

  no liability on the part of TD Ameritrade Online or Beriault Inc. Nor is there any basis for

  liability on the part of TD Ameritrade Holding or Beriault himself, who are simply

  stockholders of the respective purchasing corporations.

         In the first transaction, TD Ameritrade Online purchased the stock of Fiserv Trust

  Company ("FTC"), one of the Trust Companies and a then-subsidiary of Fiserv, Inc.

 Acquiring the stock of FTC does not make TD Ameritrade Online liable for any

  obligations of FTC. Nor do plaintiffs assert any claim, or allege facts that would support

  a claim, for piercing the corporate veiL. Plaintiffs allege that TD Ameritrade Online has

  successor liability. Yet, the Consolidated Complaint specifically alleges that no

  accounts that invested with Madoff were acquired by TD Ameritrade Online as part of

  this transaction. This allegation wholly undermines any possible application of



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  "successor liabilty." And, the claim of successor liability against TD Holding, which

  rests solely on the allegation that it is the parent of TD Ameritrade Online, is plainly

  insufficient.

         As to the second transaction, the Consolidated Complaint vaguely alleges that

  Beriault Inc. agreed to purchase Trust Industrial Bank ("TIB"), also one of the Trust

  Companies, where IRA accounts were housed, though whether the transaction was a

  purchase of stock or assets is not clearly alleged. In either case, merely acquiring the

  stock of a corporation or its assets, without more, does not make the acquirer liable for

  any obligations of that corporation. As with TD Ameritrade Online, Plaintiffs fail to make

  a claim or assert allegations that would support a claim of piercing the corporate veil, or

  would give rise to successor liabilty on the part of Beriault Inc. or Beriault. The

  Consolidated Complaint does not allege that Beriault Inc. acquired any of the Madoff

  accounts (it did not, as set forth below). These claims must also be dismissed as a

  matter of law.

          Plaintiffs' aiding and abetting claims are also fatally deficient. To plead such a

  claim, a plaintiff must allege facts that would show that the defendant had "actual

  knowledge" of another defendant's underlying breach, and provided knowing and

  "substantial assistance" to such other defendant in connection with its breach. Plaintiffs

  do not support either element with well-pleaded allegations. Plaintiffs' sole allegation

  even purportedly bearing on Movants' knowledge is that TD Ameritrade Online, TD

  Ameritrade Holding and Beriault Inc. performed due diligence in connection with the

  2007 agreements, and their alleged assistance was essentially their failure to disclose

  what they learned to third parties to whom they owed no duty. But Plaintiffs do not set



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  forth any non-conclusory allegations of knowledge as required under the relevant

  standard, and simply alleging silence, without more, does not suffciently allege

  "substantial assistance." And the allegations that TD Ameritrade Holding and Beriault

  are liable as sole stockholders of TD Ameritrade Online and Beriault Inc., respectively,

  fail to state a claim as a matter of law.

             Accordingly, all claims against Movants must be dismissed.

                                                        STATEMENT OF FACTS

  i. Status Allegations

             The principal allegations against Movants are based on their corporate status

  and relationship with the Trust Companies ("Status Allegations"). In short, in their

  Status Allegations, Plaintiffs assert that: (i) Fiserv, Inc. was the parent company of the

  various Trust Companies that entered into agreements with Plaintiffs in connection with

  their IRA accounts; (il) TD Ameritrade Online purchased the stock of FTC, one of       the

  Trust Companies, in a transaction that excluded all the Plaintiffs' IRA accounts invested

  with Madoff; (iii) TD Ameritrade Holding is the parent company of TD Ameritrade Online;

  (iv) Beriault agreed to purchase TIB, another one of the Trust Companies, at some

  unspecified time in the future; and (v) Beriault Inc. is owned by Beriault. As set forth

  below, these Status Allegations, even if proven, fail to state a basis for liability on the

  part of Movants.

             A. Status Allegations As To Fiserv, Inc.
             The Trust Companies are alleged to have been originally owned by Movant

  Fiserv, Inc., a publicly traded cornpany. (Cons. Compl. mr 31). Entities that were

  subsidiaries or affiliates of Fiserv, Inc. are alleged to have provided services to Plaintiffs'

  IRA accounts pursuant to contracts with class members up to and including 2008.

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  These entities allegedly include the six Trust Companies: FTC, TIB, Retirement

  Accounts, Inc., First Trust Corporation, NTC & Co. LLP, and Lincoln Trust Company.

  (Cons. Compl. 'I 48-52). However, Fiserv, Inc. itself is not alleged to have been a
  part to any such contracts.


          B. Status Allegations As To The TD Ameritrade Parties

         According to the Consolidated Complaint, on February 4, 2008, TD Ameritrade

  Online "purchased all outstanding stock of FTC as well as its assets, with the exception

  of the custodial accounts invested by Bernard Madoff and his company BMIS." (Cons.

  Com   pi' ,141) (emphasis ours here and throughout unless stated otherwise). Plaintiffs

  immediately follow this allegation with the conclusory allegation that "TD Ameritrade

  Online is successor in interest of FTC and responsible for FTC's liabilities." (ld,).

         As to TD Ameritrade Holding, the Consolidated Complaint alleges merely: "TD

  Holding is the sole owner of TD Online and is responsible for its liabilities." (Cons.

  Compl. 'I 42).

          C. Status Allegations As To The Beriault Defendants

          Similarly, Movants Beriault and Beriault Inc. (a corporation wholly owned by

  Beriault) are also sued based on having agreed to engage in certain corporate

  transactions with Fiserv, Inc. Without specifying the meaning of the term "Beriault", the

  Consolidated Complaint alleges: "On May 24, 2007, Beriault reached agreement with

  Fiserv to purchase TIB and his former division, which had custody of Plaintiffs' and

  Class Members' IRAs. Under the agreement, Beriault would own and operate TIB,

  which would (and did) hold custody of Plaintifs' and Class Members' IRAs." (Cons.

  Compl. ,139). It is not alleged that Beriault completed this purchase, or that the

  transaction ever closed.


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  II. Transaction Documents

         The agreements and transactions between Fiserv, Inc. and TD Ameritrade

  Online, and between Beriault Inc. and TIB, referred to in the Consolidated Complaint

  are contained in public documents filed with the Securities and Exchange Commission

  ("SEC") to which Plaintiffs have access and of which this Court may take judicial notice

  on this Motion.3


         A. The TD Ameritrade Transaction

         On May 24, 2007, TD Ameritrade Online entered into a Stock Purchase

  Agreement ("TD Ameritrade Stock Purchase Agreement" with Fiserv, Inc. (A copy of

  the TD Ameritrade Stock Purchase Agreement is Exhibit 2.1 to the Form 1 O-Q filed by

  Fiserv, Inc. with the SEC on August 3, 2007, and relevant pages are included in Exhibit

  20 to the Declaration of Kenneth B. Siegel ("Siegel Decl.")). Under the TD Ameritrade

  Stock Purchase Agreement, TD Ameritrade Online agreed to purchase "all of the

  outstanding capital stock" of FTC, defined as the "Target Company." (Siegel Decl., Ex.

  20, TD Ameritrade Stock Purchase Agreement, "Whereas" clauses). FTC had three


  3 As explained in the Omnibus Motion, documents referenced in the Consolidated Complaint
  and central to Plaintiffs' claims may be considered in determining this Motion - even if the
  documents are not attached to or incorporated by reference in the Consolidated Complaint.
  Utah Gospel Mission v. Salt Lake City Corp., 425 F.3d 1249, 1253-54 (10th Cir. 2005); GFF
  Corp. v. Assoc. Wholesale Grocers, Inc., 130 F.3d 1381, 1384-85 (10th Cir. 1997). See also
  Cortec Indus., Inc. v. Sum Holding L.P., 949 F.2d 42,47-48 (2d Cir. 1991) (even though stock
  purchase agreement and related documents were not attached to or incorporated by reference
  in the complaint, plaintiff had notice of the documents and the documents were integral to the
  complaint; thus, the court could consider the documents on a motion to dismiss).

  Moreover, facts subject to judicial notice (such as SEC filings) may be considered in a Rule
  12(b)(6) motion without converting the motion to dismiss into a motion for summary judgment.
  Grynberg v. Koch Gateway Pipeline Co., 390 F.3d 1276, 1278 n. 1 (10th Cir. 2004) (citing 27A
  Fed. Proc., L.Ed. § 62:520 (2003)). See, e.g., Citadel Equity Fund Ltd. v. Aquila, Inc., 168
  Fed.Appx. 474,475-476 (2d Cir. 2006).


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  lines of business: (i) providing back office services to investment advisers and

  institutional advisory firms ("Advisor Services" or "AS Business"); (ii) providing back

  office services for defined benefit and defined contribution retirement plans and trustee

  and administrative services to collective investment funds ("Institutional Retirement Plan

  Services" or "IRPS Business"); and (ii) providing services to self-directed IRA accounts

  and qualified retirement plans ("Investment Administration Services" or "lAS Business").

  (Id. § 7.1, Definitions of "Target Businesses," "AS Business," "IRPS Business" and

  "Acquired lAS Accounts").


         Under the TD Ameritrade Stock Purchase Agreement, certain components of

  FTC's business were excluded from the acquisition, including the "balance forward

  business" and the "daily valuation business." (Siegel Decl., Ex. 20, TD Ameritrade

  Stock Purchase Agreement § 7.1, Definition of "Excluded Business"). Also, the vast

  bulk of FTC's lAS business (where self-directed IRAs were located) was excluded from

  the acquisition; only a small fraction of the IRA business was included -- accounts that

  satisfied a number of specified criteria including the criterion that they were not

  associated with a registered investment advisor (such as Madoff. (/d. § 7.1, Definitions

  of "Excluded Business" and "Acquired lAS Accounts"). The self-directed IRA accounts

  that invested with Madoff, which were in the lAS business, were thus among the many

  accounts excluded from the acquisition, as Plaintiffs' Consolidated Complaint admits.

  (Cons. Compl. ,141).

         In order to effectuate this agreement, Fiserv, Inc. and TD Ameritrade Online

  agreed that before the closing of the acquisition by TD Ameritrade Online, FTC would

  transfer to TIB, a separate Fiserv, Inc. affliate, all of FTC's assets and liabilities relating



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  to the parts of the business that TD Ameritrade was not going to acquire. (Siegel Decl.,

  Ex. 20, TD Ameritrade Stock Purchase Agreement §§ 3.1.5; 7.1, Definitions of

  "Customers" and "Target Businesses"). Thus, at the closing of the purchase of the FTC

  stock, FTC would not contain the parts of the FTC b.usiness that were not being

  acquired by TD Ameritrade Online, including the assets and liabilities relating to

  accounts that TD Ameritrade Online was not acquiring.

         As the Consolidated Complaint itself alleges, therefore, the transaction with TD

  Ameritrade Online did not include Plaintiffs' IRA accounts, and there was never a time

  when TD Ameritrade Online provided services for any IRA accounts invested with

  Madoff or otherwise had any contractual relationship with Plaintiffs. (Cons. Compl. 'I

  41). The acquisition by TD Ameritrade Online closed on February 4, 2008. (Cons.

  Campi' ,141)4

         B. The Beriault Transaction

         The second transaction agreed to in May 2007, was between Fiserv, Inc. and

  Beriault Inc. Under this transaction (later modified as discussed below), the remainder

  of the business that had been part of FTC, including the lAS Accounts that were to be

  transferred out of FTC prior to the sale of its stock to TD Online, was to be acquired by

  Beriault Inc. On May 24, 2007, Fiserv, Inc. entered into a Stock Purchase Agreement

  with Beriault Inc. ("Beriault Inc. Stock Purchase Agreement"), in which Beriault Inc.

  agreed to purchase all of the outstanding capital stock of TIS, where the lAS Accounts

  not acquired by TD Arneritrade Online were then housed, including at that point

  4 At the same time, as discussed infra in connection with the claims of aiding and abetting, these
  contractual terms make clear that Plaintiffs' implication that the exclusion of certain accounts
  was Madoff-specific is false, since the exclusion involved all accounts with investment advisers
  - including, but certainly not limited to, Madoff accounts.


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  Plaintiffs' self-directed IRAs,s (A copy of the Beriault Inc. Stock Purchase Agreement is

  Exhibit 2.2 to the Form 10-Q filed by Fiserv, Inc. with the SEC on August 3, 2007, and

  relevant pages are included in Exhibit 20 to the Siegel Decl.). The transaction was

  subject to various regulatory approvals, which ultimately took more than two years to

  obtain.

             During the time between the execution of the Beriault Inc. Stock Purchase

  Agreement and the obtaining of the regulatory approvals, the parties agreed to

  restructure their agreement. They first modified the Beriault Inc. Stock Purchase

  Agreement in March 2008 (a copy of the Amended and Restated Stock Purchase

  Agreement is Exhibit 2.1 to the Form 8-K filed by Fiserv, Inc. on April 3, 2008, and

  relevant pages are included in Exhibit 21 to the Siegel Decl.). Then, on April         15, 2009,

  they entered into a Second Amended and Restated Stock Purchase Agreement and

  also an Asset Purchase Agreement between Fiserv, Inc., Lincoln Trust Company as

  seller, and Beriault Inc. as buyer ("Asset Purchase Agreement" (copies of the (i)

  Second Amended and Restated Stock Purchase Agreement and (ii) the Asset Purchase

  Agreement are Exhibits 2.1 and 2.2 respectively to the Form 8-K filed by Fiserv, Inc. on

  April   21, 2009, and relevant pages are included in Exhibit 22 to the Siegel Decl.).

             Under the Asset Purchase Agreement, which was negotiated and entered into

  after the December 2008 disclosure of the Madoff scheme, Beriault Inc. agreed to buy

  certain defined assets of TIB, which had changed its name to Lincoln Trust Company.6


  5 Beriault Inc. also agreed to purchase all of the capital stock of certain other companies wholly
  owed by Fiserv, Inc. pursuant to the Beriault Inc. Stock Purchase Agreement. (Siegel Decl., Ex.
  20, Beriault Inc. Stock Purchase Agreement, "Whereas" clauses defining "Target Shares").
  6 At the time of the Asset Purchase Agreement, TIB had changed its name to Lincoln Trust
  Company. (Cons. Compl. 111136-37).

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  (Siegel Decl., Ex. 22, Asset Purchase Agreement § 1.1.1). The Asset Purchase

  Agreement also expressly provided that Beriault Inc. would not assume any liability of

  Lincoln Trust Company arising prior to the closing date of the transactions. (/d., §

  1.1.5).

             Further, in connection with the approval by the Colorado State Banking Board of

  the transaction provided for under the Asset Purchase Agreement, the lAS Accounts

  invested with Madoff that remained with the seller entity (Lincoln Trust Company,

  formerly known as TIB) were required to be transferred to an unaffiliated third party or

  distributed per customer request, and thus were not included within the assets to be

  purchased by Beriault Inc. or its newly created trust company. (A copy of the November

  19, 2009 Order from the Colorado Department of Regulatory Agencies, Division of

  Banking approving the application of Beriault Inc. and requiring transfer or distribution of

  Madoff accounts is Exhibit 23 to the Siegel Decl.).7 The transaction closed in early

  December 2009 -- after the date on which the Consolidated Complaint was filed and, of

  course, long after the operative events at issue in this litigation occurred. (Siegel Decl.,

  Ex. 24, 401kwire.com Press Release, "A Recordkeeping Phoenix Rises in the West"

  (December 7,2009)). Beriault Inc. at no time had any contractual or other relationship

  with Plaintiffs or provided services in connection with their IRA accounts.




  7 As part of the Asset Purchase Agreement, Beriault Inc. acquired use of the name Lincoln Trust
  Company, and thus the application and approval      letter from the Colorado State Banking Board
  permit Beriault Inc. to operate its newly created trust company under the name Lincoln Trust
  Company, so that a new Lincoln Trust Company became the actual purchaser of the assets. In
  contemplation of this disposition of the name, the seller Lincoln Trust Company entity had
  changed its name back to TIB, and thus TIB is the seller entity referred to in the Banking Board
  letter, which also identifies new Lincoln Trust Company as the trust company that would operate
  the business. (Siegel Decl, Ex. 23).

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  II. Aiding and Abetting Claims

         In addition to the Status Allegations, the Consolidated Complaint also makes

  certain allegations that purport to support aiding and abettng claims against TD

  Ameritrade Online and TD Ameritrade Holding (referred to collectively as "TD

  Ameritrade Parties") as well as Beriault and Beriault Inc. (referred to collectively as

  "Beriault Parties") (Cons. Compl. 'I97-105).8 The Consolidated Complaint alleges that

  TD Ameritrade Online and TD Ameritrade Holding learned of the alleged Trustee

  Defendants' "breaches" of fiduciary duty when they conducted due diligence in

  connection with the prospective purchase of FTC, and that it "materially assisted the

  Trustee Defendants' breach of their fiduciary duties when (theYJ agreed not to disclose

  ¡theirJ knowledge but to go forward with the transaction after excluding the Class

  members' IRAs and other accounts." (Cons. Compl. 'I100-103). The Consolidated

  Complaint is silent as to what facts TD Ameritrade Online and TD Ameritrade Holding

  allegedly learned and also silent as to how anything the TD Ameritrade Parties did had

  any effect on the events giving rise to Plaintiffs' losses, which are alleged to have

  occurred during the preceding two or more decades.



  Bin keeping with Plaintiffs' blunderbuss style of pleading, all of the thirty-two claims in the
  Consolidated Complaint are asserted against all eleven Defendants, including the aiding and
  abetting claims, meaning that Plaintiffs in effect accuse the Trust Companies of aiding and
  abetting themselves. This, of course, is impossible as a matter of logic and law. See Mann v.
  GTCR Golder Rauner, L.L.C., 483 F. Supp.2d 884, 916 (D. Ariz. 2007) (noting plaintiffs'
  concession that a person who himself owes a fiduciary duty with respect to a transaction or
  course of conduct cannot be liable for aiding and abetting a breach of that same fiduciary duty
  by another). The only allegations in the Consolidated Complaint that even address aiding and
  abetting, however, are in paragraphs 96 - 106, and these all concem only TD Ameritrade
  Online, TD Ameritrade Holding, Beriault and Benault Inc.




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        The Consolidated Complaint then alleges that "(a)s the sole owner of TD

  Ameritrade Online Holding Corporation, TD Ameritrade Holding Corporation similarly

  aided and abetted the Trustee Defendants' breach of their fiduciary duties." (Cons.

  Compl. ,1101). In this section, the Consolidated Complaint repeats its conclusory

  contention from the Status Allegations that "(a)s the sole owner of TD Ameritrade Online

  Holding Corporation, TD Ameritrade Holding Corporation is responsible for the liabilities

  of its subsidiary." (Cons. Compl. ~ 102).

         Plaintiffs make similar allegations against the Beriault Parties. The Consolidated

  Complaint states that, based on Beriault's former role in FTC's business and the due

  diligence conducted in connection with the May 2007 agreement, the Beriault Parties

  knew of "the Trustee Defendants' numerous breaches and gross negligence." (Cons.

  Compl. ,1105). The Consolidated Complaintfurther alleges that the Beriault Parties

  "materially assisted the Trustee Defendants' breach of their fiduciary duties when they

  agreed not to disclose their knowledge but continued to exercise control" over TIB and

  NTC & Co. LLP (another of the Trust Companies) "during the transition period while

  Beriault's transaction with Fiserv was pending...." (ld.). The Consolidated Complaint

  contains no allegations as to what Beriault Inc. allegedly learned or how anything it did

  had any effect on the events giving rise to Plaintiffs' losses, which are alleged to have

  occurred during the preceding two or more decades.

         Finally, with respect to Beriault individually, the Consolidated Complaint alleges

  that "under 26 CFR Reg. 408.2, the officers and directors of a fiduciary, are responsible

  to insure compliance with federal fiduciary requirements, and... Beriault had long been

  such an offcer but had long failed to insure such compliance." (ld.).



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         The Consolidated Complaint does not describe any contract or other relationship

  between any plaintiff and the TD Ameritrade Parties or the Beriault Parties. Nor does it

  describe any other purported basis for imposing upon the TD Ameritrade Parties or the

  Beriault Parties any duties whatsoever with regard to any Plaintiff.

                                        ARGUMENT

  i. Rule 12(b)(6) Standards Require Dismissal OfThe Consolidated Complaint

         The legal standards applicable to this motion to dismiss under Rule 12(b)(6) --

  including discussion of Ashcroft v. Iqbal, 129 S.Ct. 1937, 1949-50 (2009), and Bell

  Atlantic Corp. v. Twombly, 550 U.S. 544, 545 (2007) -- are set forth in the Omnibus

  Motion by all Defendants, and Movants wil not repeat those standards here.

         Further, the agreements and transactions involving Fiserv, Inc., TD Ameritrade

  Online, and Beriault Inc. are referred to in the Consolidated Complaint and are central to

  Plaintiffs' claims against these companies, and the documents embodying those

  transactions may be considered on a motion to dismiss. See footnote 3, supra (setting

  forth legal authority concerning consideration of such documents on a motion to

  dismiss). The Consolidated Complaint makes a series of allegations regarding those

   agreements and transactions, which are plainly based on the public disclosures

   regarding the agreements and transactions. (Cons. Compl. 'I,- 3842, 99-105). Further,

   the agreements and the closing of the transactions are disclosed in publicly available

   documents, such as SEC filings by Fiserv, Inc. and other public sources, of which this

   Court rnay take judicial notice. See footnote 3, supra.




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  II. Under Well-Established Principles Of Corporate Law, None Of The Five
            Movants Could Be Liable Based on Plaintiffs' Status Allegations In Relation
            To Plaintiff' IRA Investments With Madoff
            As set forth below, Plaintiffs' Status Allegations fail to state a claim against any of

  the five Movants.

            A. TD Ameritrade Parties

            The conclusory allegations that TD Ameritrade Online and TD Ameritrade

  Holding are responsible for the liabilties of FTC are devoid offactual support and legal

  merit. That TD Ameritrade Online purchased the stock of FTC does not render TD

  Arneritrade Online liable for FTC's liabilities. Nor does the fact that TD Ameritrade

  Holding is the parent corporation of TD Ameritrade Online render TD Ameritrade

  Holding liable for TD Ameritrade Online's liabilities.

                   1. A parent corporation is not liable for the liabilities of its
                         subsidiary
            A corporation is treated as a legal entity separate from its shareholders, directors

  and officers. See, e.g., In re Phillps v. Englewood Post No. 322 Veterans of Foreign

  Wars of    the United States, 139 P.3d 639, 643 (Colo. 2006). This separation permits

  shareholders to invest with the assurance that they will not be held liable for the debts of

  the corporation. Id.; see also Micciche v. Billngs, 727 P.2d 367, 372 (Colo. 1986). In

  fact, insulation from liability is an inherent purpose of incorporation. In Re Philips, 139

  P.3d at 643; see also Leonard v. McMorris, 63 P.3d 323, 330 (Colo. 2003).

            Thai a parent owns all of the stock of the subsidiary, standing alone, is an

  insufficient basis to depart frorn the general rule that the corporation and its shareholder

  are treated as distinct legal persons. See, e.g., Lowell Staats Mining Co. v. Pioneer

  Uravan, Inc., 878 F.2d 1259, 1262-1263 (10th Cir. 1989) (applying Colorado law); CNH


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  America LLC. v. Kinzenbaw, C.A. No. 08-945(GMS), 2009 WL 3737653, at *1 (D. DeL.

  Nov. 9, 2009).

         Here, Plaintiffs allege nothing more than TD Ameritrade Online is liable as a

  shareholder of FTC for the liabilties of FTC and TD Ameritrade Holding is liable as a

  shareholder of TD Ameritrade Online for the liabilities of TD Ameritrade Online. These

  claims fail as a matter of law.

                 2. Plaintiff have not asserted a claim for piercing the corporate
                         veil and have not alleged facts that would support such a
                         claim
         The Consolidated Complaint does not include any claim that the corporate form

  of organization of FTC and TD Ameritrade Online should be pierced and disregarded.

  Nor does the Consolidated Complaint include any factual allegations that would be

  suffcient to support a claim that the corporate form of organization of FTC and TD

  Ameritrade Online should be pierced and disregarded.9

         To state a veil piercing claim under Colorado law, plaintiffs must allege facts

  showing that: (i) the parent corporation is the alter ego of the subsidiary; (ii) the

  corporate form of the subsidiary was used to perpetrate a fraud or abused to defeat a

  rightful claim of creditors; and (iii) equity requires disregarding the corporate form. All

  three elements must be pleaded and satisfied. In re Phillps, 139 P.3d at 643.

         To state a veil piercing claim under Delaware law, plaintiffs must allege facts

  showing that the corporation was a sham entity created by the parent corporation to

  9 Colorado courts follow the choice of law principle that the law of the state of incorporation sets
  the standards for a claim of piercing the corporate veiL. Echostar Satellite Corp. v. Ultraview
  Satellite, Inc., No. 01-cv-00739-JLK, 2009 WL 1011204, at *7 (D. Colo. April   15, 2009). FTC
  was organized under the laws of Colorado; thus, Colorado law would apply to any claim of
  piercing the corporate veil of FTC. TD Ameritrade Online is organized under the laws of
  Delaware; thus, Delaware law would apply to any claim of piercing the corporate veil of TD
  Ameritrade Online.

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  defraud investors and creditors. Crosse v. BCBSD, Inc., 836 A.2d 492, 497 (DeL. 2003).

  Plaintiff must show some fraud, injustice or inequity in the use of the corporate form. Id.

  See also CNH America LLC, 2009 WL 3737653 at *1; Trevino v. Merscorp, Inc., 583 F.

  Supp. 2d 521, 529-529 (D. DeL. 2008).

         Plaintiffs have failed to allege any such facts. The Consolidated Complaint

  contains no allegation that, after it purchased FTC, TD Ameritrade Online used FTC as

  a facade or sham or to perpetrate a fraud or that there was any fraud or injustice in the

  use of the corporate form. In fact, there is no allegation in the Consolidated Complaint

  that the corporate fomn was abused in any way. Likewise, the Consolidated Complaint

  contains no allegations that TD Ameritrade Holding used TD Ameritrade Online as a

  sham or to perpetrate a fraud, that there was any fraud or injustice in the use of the

  corporate form, or that the corporate form was abused in any way.

                3. "Successor liability" principles do not apply to TD Ameritrade
                       Online's acquisition of FTC because the acquisition was
                       effected through a stock purchase, not an asset purchase

         Plaintiffs also make a conclusory statement that TD Ameritrade Online is a

  "successor in interest of FTC." (Cons, Compl. ,141). But successor liabilty principles

  do not apply to a stock purchase transaction. Court decisions addressing successor

  liability claims consistently involve asset purchases -- as opposed to stock purchases.

  See, e.g., Alcan Aluminum Corp. v. Elec. Metal Prods., Inc., 837 P.2d 282, 283 (Colo.

  ct. App. 1992) (an asset purchase); Johnston v. Amsted Indus., Inc., 830 P.2d 1141,

   1142-1143 (Colo. Ct. App. 1992) (an asset purchase); Ruiz v. ExCello Corp., 653 P.2d

  415 (Colo. Ct. App. 1982) (an asset purchase); Florom v. Ellott Mfg., 867 F.2d 570,

  574-575 (10th Cir. 1989) (an asset purchase).



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          Indeed, courts have noted the inapplicability of successor liability principles to a

  stock purchase transaction. See Sunnyside Dev. Co., LLC v. Opsys Ltd., No. C 05

  0553 MHP, 2007 WL 2462142, at *6 (N.D. CaL. Aug. 29, 2007) (explaining that

  successor liability "requires the purchase of assets, not merely the purchase of stock...

  which is not simply a matter of form over substance"); Cargo Partner AG v. Albatrans,

  Inc., 352 F.3d 41, 44-45 (2d Cir. 2003) (finding successor liability principles apply to

  asset purchases as opposed to stock purchases).

          The transaction in which TD Ameritrade Online acquired FTC was a stock

  purchase. There is no basis pleaded for successor or any other liabilty by the TD

  Ameritrade Parties to Plaintiffs.

          B. Fiserv, Inc.
          The claims asserted against Fiserv, Inc. also fall far short of meeting the

  standards for pleading a claim against a parent corporation or successor.

          The Consolidated Complaint alleges no more than that, at some point, Fiserv,

   Inc. was the parent company of the Trust Companies. While the Consolidated

  Complaint defines Fiserv, Inc. as one of the "Trustee Defendants" and asserts claims

  againstit as if it were in the same position vis a vis the class members as the Trust

   Companies it allegedly owned, there is no specific allegation that Fiserv, Inc. entered

   into agreements to provide services for customers' IRA accounts, such as those of

   Plaintiffs -- in stark contrast to the allegations that the Trust Companies entered into

   such contracts. (Cons. Compl. ,151). Therefore, this pleading does not state a claim for

   relief against Fiserv, Inc.

          Further, based on the legal authority set forth above, merely because Fiserv, Inc.

   is, or was, the shareholder of other entities does not make it liable for the alleged acts of

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  those entities. See, e.g., Lowell Staats, 878 F.2d at 1263. There are no allegations that

  Fiserv, Inc. engaged in any acts that would justify piercing the corporate veiL. Under the

  facts as pleaded, Fiserv, Inc. could have no liability to Plaintiffs.

          C. Beriault Parties
          The claims against Beriault Inc. and Beriault fail for similar reasons. The

  Consolidated Complaint alleges only that, on May 24, 2007, Beriault agreed to purchase

  TIB and, thus, become its parent company. (Cons. Compl. ,- 39). Indeed, the

  Consolidated Complaint does not allege that this agreement was ever consummated.

  (ld.). This conclusory allegation does not state a claim for liability on the part of either

  Beriault or Beriault Inc. Even if the transaction set forth in the May 2007 agreement

  were consummated, it would simply be a stock acquisition, and under the principles set

  forth above, the acquisition of TIB by Beriault Inc. would not create liability for TIB's

  obligations; it would merely make Beriault Inc. the parent of TIB, which, as set forth

  above, does not give rise to liabilty for TIB's obligations.1o

          As also described above, the original May 24, 2007 agreement with Beriault Inc.

  was modified, and Beriault Inc. in April 2009 entered into the Asset Purchase
  Agreement with Lincoln Trust Company, which this Court may consider on this motion.

  See footnote 3, supra. An asset purchase, unlike a stock purchase, can give rise to

  successor liability under certain circumstances, but no such circumstances are pleaded

  here.

          A purchaser of assets does not acquire liabilities unless one of the four traditional

  exceptions to that rule is met. See Florom, 867 F.2d at 574-575 (applying Colorado

  10 Beriault Inc., TIB and Lincoln Trust Company are all Colorado companies; thus, Colorado law
  applies. See footnote 9, supra.


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  law).11 When a corporation acquires the assets of another corporation, it does not

  become liable for the debts and liabilties of     the transferor, except where: (1) there is an

  express or implied assumption of liability; (2) the transaction results in a merger or

  consolidation of the two corporations; (3) the purchaser is a mere continuation of the

  seller; or (4) the transfer is for the fraudulent purpose of escaping liabilty. See A/can

  Aluminum Corp., 837 P .2d at 283 (citing Ruiz, 653 P .2d 415); Johnston, 830 P.2d at

  1142-1143 (also citing Ruiz).12

             The Consolidated Complaint includes no allegations regarding the April 2009

  agreement at all, much less any allegations that could support one of the four

  exceptions to the no-successor-Iiability rule for an asset purchase. And, as further set

  forth above, before that transaction could close, the seller was required by the Colorado

  Banking Commission to transfer all of the Madoff accounts to a third part not in any

  way affiliated either with the buyer or seller. Thus, Beriault Inc. never acquired any

  Madoff accounts, further negating any possible claim of successor liability by Plaintiffs.

              Beriault himself is even further removed from liability, since he is merely alleged

  to be the sole shareholder of Beriault Inc. As with the TD Arneritrade Holding claim

  above, this claim fails because the claim against Beriault Inc. fails, and further because



  11 Governing law for claims of successor liabilty in connection with asset purchases is
  determined based on the "most significant contacts" test. Ede v. Mueller Pump Co., 652 F.
  Supp. 658-659 (D. Colo. 1987), disagreed with on different grounds, Florom, 867 F.2d at 579-
  80. See also In re AE, Inc, v. Goodyear Tire & Rubber Co., 168 P.3d 507, 510 (Colo. 2007)
  (Colorado uses the "most significant relationship test" for resolution of most choice of law
  disputes). Colorado clearly has the most significant relationship with the Beriault Parties'
  transaction, as the assets purchased are in Colorado and the buyer and seller are incorporated
  in Colorado.
  12 Under Delaware law, the test for successor liabilty is substantially the same. See Ross v.
  Desa Holdings Corp., CA No. 05C-05-013 MMJ, 2008 WL 4899226, at *4 (DeL. Super. Cl.
  2008).

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  there are no facts alleged that would justify piercing the corporate veil to hold Beriault

  liable for any obligations of the company whose stock he owns.

  III. Plaintiff Fail To Plead Facts Supporting Any Claims For Aiding And
            Abetting Liability Against Movants
             Plaintiffs' other claims against the Non-Trust Company Defendants are based on

  the theory of aiding and abetting breach of fiduciary duty. To allege such a claim, a

  plaintiff must plead breach by a fiduciary of a duty owed to a plaintiff, the defendant's

  knowing and substantial participation in that breach and damages resulting from the

  breach. See, e.g., Nelson v. Elway, 971 P.2d 245, 249-250 (Colo. Ct. App. 1998);

  Holmes v. Young, 885 P.2d 305,308 (Colo. Ct. App. 1994); Senderv. Mann, 423 F.

  Supp. 2d 1155,1175-1176 (D. Colo. 2006).13

             Plaintiffs do not allege any facts regarding purported knowledge by Fiserv, Inc. of

  an underlying breach of duty by a fiduciary, or regarding substantial assistance by

  Fiserv, Inc. Plaintiffs do make conclusory statements that the TD Ameritrade Parties

  and the Beriault Parties acquired knowledge of an underlying breach by the other

  Defendants through conducting due diligence reviews in connection with the May 2007

  acquisition agreements, and that they assisted those Defendants by not disclosing such

  breaches. (Cons. Com        pi' '11199-107). These claims fail first because, as set forth in the

  Omnibus Motion, there is no underlying breach by the Trust Companies, an



  13 Under Colorado choice of law principles, the "most significant relationship test" determines the
  relevant state law for aiding and abetting breach of fiduciary duty. Natural Wealth Real Estate.
  Inc. v. Cohen, No. 05-cv-01233-LTB-MJW, 2007 WL 201252, at *5 (D. Colo. Jan. 23, 2007). As
  discussed above, Colorado has the most significant relationship to the allegations at issue; thus,
  Movants cite Colorado law. To the extent Delaware law is deemed relevant, it is similar to
  Colorado law on aiding and abetting. See In re Santa Fe Pacific Corp. Shareholder Litig., 669
  A.2d 59, 72 (DeL. 1995).



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  indispensable element of such a claim. And, apart from this deficiency, Plaintiffs fail to

  adequately allege the requisite knowledge or substantial assistance by the Movants.

         A. Plaintiff Fail To Allege Suffcient Knowledge

         As to the knowledge element, "actual knowledge" of a breach is required; it is not

  enough to plead reckless or negligent conduct providing the defendant with constructive

  knowledge of a potential breach offiduciary duty. See Sender, 423 F. Supp.2d at 1176.

  Plaintiffs cannot rely upon "conclusory and sparse allegations that the aider and abetter

  knew or should have known about the primary breach of fiduciary duty." Meisel v.

  Grunberg, No. Civ. 11610 (PKL), 2009 WL 2777165, at *10 (S.D.N.Y. Aug. 31, 2009)

  (internal quotations omitted).

         Here, the only alleged "knowledge" is based on allegations that the TD

  Ameritrade Parties and Beriault Parties performed due diligence in connection with the

  May 2007 acquisition agreements. Significantly, any alleged knowledge acquired by

  these Non-Trust Company Defendants in 2007 would be irrelevant for all investments

  made prior to 2007, and would also be insufficient to establish proximate causation of

  loss as between any Plaintiffs, with the possible exception of Plaintiff Giuseppe

  Santinello (who invested in 2008), and the TD Ameritrade Parties and Beriault Parties.

  Aside frorn that deficiency, the Consolidated Complaint is devoid of any fact allegations

  indicating what these Defendants learned; it merely speculates regarding what they

  might have learned from their due dilgence, or, in the case of the Beriault Parties,

  recites Beriault's position within Fiserv, Inc. This does not plead actual knowledge.

         Rather than allege any specifics as to the knowledge the TD Ameritrade Parties

  allegedly acquired, the Consolidated Complaint attempts to insinuate they had

  knowledge of something because the TD Ameritrade Parties decided not to acquire the

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  Plaintiffs' IRA accounts when TD Ameritrade Online purchased the stock of FTC. (Cons.

  Compl. ,1102). The attempted implication is that TD Ameritrade Online sought to

  exclude the accounts with Madoff because it knew that the Trust Companies were

  breaching their duties in connection with Plaintiffs' accounts. This implication itself is

  merely   a speculative conclusion, not a well-pleaded fact. It represents little more than

  an attempt to posit that because the self-directed IRA accounts that invested with

  Madoff were part of the bulk of the lAS Business that was not included in the

  acquisition, that must mean that TD Ameritrade Online knew that FTC was breaching its

  duties to IRA account holders that invested with Madoff -- as opposed to meaning that

  there were business reasons that TD Ameritrade Online was not interested in acquiring

  such a business line This is sheer speculation that does not meet the plausibility

  standard of Iqbal or Twombly.

           Moreover, the publicly filed contract documents themselves negate this theory.

  They make clear that, far from being a Madoff-specific exclusion, the exclusion involved

  certain businesses, accounts, assets and liabilities, which were to be transferred from

  FTC prior to the sale to TD Ameritrade Online. (Siegel Dec., Ex. 20, TD Ameritrade

  Stock Purchase Agreement, §§ 3.1.5; 7.1, Definitions of "Customers," "Target

  Businesses," "Excluded Business," "AS Business," IRPS Business," "IAS Business" and

  "Acquired lAS Accounts"). Indeed, the contract documents make clear that the lAS

  business (with the exception of certain accounts that satisfied specified criteria) was not

  the only business that was not acquired by TD Ameritrade Online. FTC's balance

  forward business and daily valuation business were also excluded from FTC prior to the

  stock sale. (ld. § 7.1, Definition of"Excluded Business"). Thus, Plaintiffs' speculation



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  does not suggest any knowledge on the part of the TD Ameritrade Parties of any breach

  of duty by the Trust Companies with respect to the Plaintiffs' accounts.

         The knowledge allegations against the Beriault Parties do not fare any better

  merely because it is alleged that Beriault was an executive involved in the operation of

  FTC. (Cons. Compl. ~ 105 (a)). This allegation does not equate to pleading his

  awareness of any actual facts, as required to plead actual knowledge, and Plaintiffs

  plead no such awareness.

         Indeed, having earlier suggested that TD Ameritrade Online must have had

  knowledge of some breach of duty by the Trust Companies based on the fact that TD

  Ameritrade Online did not acquire Plaintiffs' IRA accounts, Plaintiffs proceed on

  precisely the opposite premise with respect to Beriault and Beriault Inc., who are

  alleged to have had the same knowledge yet agreed to acquire such accounts.

  Plaintiffs' attempt to have it both ways on this issue reflects their inabilty to plead actual

  facts supporting knowledge,

         In Kirschner v. Bennett, 648 F. Supp.2d 525, 544 (S.D.N.Y. 2009), a bankruptcy

  trustee brought claims on behalf of customers of Refco, a foreign exchange financial

  services company, including claims of breach of fiduciary duty for misappropriating

  assets. The plaintiff also brought an aiding and abetting breach of fiduciary duty claim

  against Refco's auditor, accounting firm and legal counsel (collectively, "professional

  defendants"). The plaintiff alleged that the professional defendants helped Refco obtain

  fraudulent loans in order to falsify the company's financial position, which furthered its

  ongoing fraud, including the misappropriation of customers' assets. The court,

   however, dismissed the aiding and abetting claim because the plaintiff failed to allege



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  facts showing that the professional defendants had actual knowledge of the

  misappropriation of the specific customer assets. 648 F. Supp. at 545-546.

         Here, the Consolidated Complaint falls well short of this standard, since it does

  not even attempt to plead any facts that would show knowledge by the TD Ameritrade

  Parties or Beriault Parties of any breaches of fiduciary duty by the Trust Companies to

  the named Plaintiffs.

         B. Plaintiff Fail to Allege Substantial Assistance
         The Consolidated Complaint is also devoid of allegations of substantial

  assistance necessary to support aiding and abetting claims. At most, Plaintiffs here

  plead inaction by Movants. Inaction, however, is no basis for finding substantial

  assistance as required to plead an aiding and abetting claim where, as here, Movants

  had no duty to act.

         In Liberty Savings Bank, FSB v. Webb Crane Serv., Inc., No. Civ.

  A03CV2218REBCBS, 2005 WL 1799300, at *3 (D. Colo. July 27,2005), affd mem.,

  2007 WL 1548994, at *4 (10th Cir. May 30, 2007), the District Court drew on the

  Second Circuit's opinion in In re Sharp Int'l Corp., 403 F.3d 43, 50 (2d. Cir. 2005) to rule

  that substantial assistance is satisfied "only when 'the alleged aider and abettor

  affirmatively assists, helps conceal or fails to act when required to do so, thereby

  enabling the breach to occur.'" It held that where one lender to a company pressured

  the borrower to increase its security and find other sources of funding to finish a project

  that would help repay the lender, even where the lender knew that the borrower was

  finishing the project by improperly using money borrowed from a second lender, "such

  actions by (the first lender) do not constitute substantial inducement or assistance,



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  Rather, they constitute actions by (the first lender) to ensure the payment of a legitimate

  debt.." Liberty Savings, 2005 WL 1799300 at5.

        As the Sharp court made plain: "(A) company in a position to thwart or expose a

  breach of fiduciary duty may protect its interest by doing neither, sitting tight and being

  quiet." 403 F.2d at 52. There, the lender was allegedly "in a position to blow the

  whistle" on borrowers' misconduct, but instead "arranged to extricate itself from the

  risk"; the court concluded that such "silence and forbearance did not assist the fraud

  affirmatively" and dismissed the complaint. Id. at 52-53 (emphasis in original).

         The authority reflects long-standing tort principles concerning if and when there is

  a duty to aid: "An alleged torteasor has a duty to take affirmative action for another's

  aid or benefi only where there is a 'special relationship' between the actor and the

  injured part or the actor committed itself to the performance of an undertaking,

  gratuitously or by contract..." Hamon Contractors, Inc. v. Carter & Burgess, Inc., Nos.

  07CA0987, 07CA0988 and 07CA2342, 2009 WL 1152160, at *12 (Colo. ct. App. June

  11,2009); see, e.g., Lego v, Schmidt, 805 P.2d 1119, 1122-23 (Colo. Ct. App. 1990).

         Plaintiffs fail to allege the existence of any such "special relationship" with, or

  commitment by, any of the Non-Trust Company Defendants (with which the named

  Plaintiffs had no contractual or other relationship). Accordingly, the Non-Trust Company

  Defendants owed no duties to Plaintiffs. See also Western Innovations, Inc. v. Sonitrol

  Corp., 187 P.3d 1155 (Colo. ct. App. 2008) (distinguishing between "misfeasance" and

  "nonfeasance", and affrming dismissal of negligence claim against fire alarm monitoring

  company that had no contractual relationship with plaintiffs but rather contracted with a

  third part and at most engaged in nonfeasance).


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             Here, Plaintiffs plead no more than that Movants allegedly learned of breaches

  by the Trust Companies in conducting due diligence but did not "blow the whistle" by

  somehow disclosing such breaches to Plaintiffs -- with whom Movants had no

  relationship. As in Liberty     and Sharp, this is not substantial assistance, and the claim

  must be dismissed.

             This deficiency is particularly glaring in light of Plaintiffs' allegation that "upon

  receipt of the assets, the third part (Madoff immediately commingled and took them"

  (Cons. Compl. '-20). Thus the transfers alleged to have caused Plaintiffs' losses

  occurred years before TD Ameritrade Online or Beriault Inc. had any role in considering

  a possible purchase in 2007.

             Plaintiffs attempt to support their claims against Beriault by pointing to his

  position as an executive of the FTC business and his continued service during a

  transition period. But that position does not give rise to any duty of disclosure. Plaintiffs

  refer generally to 26 CFR § 408.2, and rnake a conclusory statement that officers of

  trust companies have duties to ensure compliance with federal fiduciary requirements

  and that Beriault had failed to fulfill this obligation. But the Consolidated Complaint

  alleges no facts (well pleaded or otherwise) with respect to any act or omission by

  Beriault that would support this conclusion. Nor, even here, do Plaintiffs allege that 26

  CFR § 408.2 created a fiduciary duty or any duty of disclosure to Plaintiffs on the part of

  Beriault personally or Beriault Inc. (Cons. Compl. ,- 107).14



  14 To the extent that these allegations are intended to state a claim of breach of fiduciary duty

  under state or federal law against Beriault, there are no well-pleaded allegations that support
  such a claim against him or any other Defendant, and in addition there is no private right of
  action under IRC § 408 or Regulations thereunder. Indeed, the court in Sirna v. Prudential
  Securities, Inc., et a/., Nos. 95 CIV. 8422 (LAK), 95 CIV. 9016 (LAK), 96 CIV. 4534 (LAK), 1997

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             At its heart, then, the claim against Beriault and Beriault Inc. is based solely on

  the theory that they could have blown the whistle but did not -- the same kind of inaction

  held insufficient by courts in Liberty   and Sharp.

             Thus, because the Consolidated Complaint fails to plead knowledge on the part

  of the Non-Trust Company Defendants, and because it fails to plead substantial

  assistance on their part -- and either failure warrants dismissal -- the aiding and abetting

  claims must be dismissed.

                                            CONCLUSION

             For all the reasons stated herein, Movants respectfully request that all claims

  against them be dismissed with prejudice pursuant to Federal Rule of Civil Procedure

  12(b)(6).




  WL 53194, at *2 (S.D.   N.Y. Feb. 10, 1997) stated that it would be "frivolous" to contend there is a
  private right of action under § 408. See Omnibus Motion at pp. 26-29.

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  Dated: January 11, 2010
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                               CERTIFICATE OF SERVICE

        I hereby certify that on January 11, 2010, a true and correct copy of the foregoing
  was served via the Court's ECF system or was deposited in the United States Mail,
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